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                                                                  3                                      UNITED STATES DISTRICT COURT
                                                                  4                                    NORTHERN DISTRICT OF CALIFORNIA
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                                                                  7   ARTHUR RENOWITZKY,                                  Case No. 4:21-CV-2645-YGR
                                                                  8                Plaintiff,                             ORDER OF DISMISSAL UPON SETTLEMENT
                                                                  9          vs.                                          Re: Dkt. No. 20
                                                                 10   DRISCOLL’S VALENCIA STREET SERRA
                                                                      MORTUARY, ET AL.,
                                                                 11
                                                                                    Defendants.
                                                                 12
                               Northern District of California
United States District Court




                                                                 13          The Court has entered the Consent Decree and Order. (Dkt. No. 20.) Accordingly, it is
                                                                 14   ORDERED that this case is DISMISSED and any case management dates set in this matter are
                                                                 15   VACATED. The Court shall retain jurisdiction over this matter for the execution and enforcement of
                                                                 16   the parties’ agreement. It is further ORDERED that if any party certifies to this Court, with proper
                                                                 17   notice to opposing counsel within sixty (60) days from the date below, that this case should be
                                                                 18   reopened, this order shall be vacated and this case shall be restored to the calendar for further
                                                                 19   proceedings.
                                                                 20          This Order terminates the case.
                                                                 21          IT IS SO ORDERED.
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                                                                      Dated: October 13, 2021
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                                                                                                                            ____________________________________
                                                                 24                                                             YVONNE GONZALEZ ROGERS
                                                                                                                            UNITED STATES DISTRICT COURT JUDGE
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